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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:
     WESTERN                             TEXAS
 ____________________ District of _________________
                                       (State)
                                                           11
 Case number (If known): _________________________ Chapter _____                                                                           Check if this is an
                                                                                                                                             amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          12/15

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



1.   Debtor’s name                               WC 4811 South Congress, LLC
                                           ______________________________________________________________________________________________________




2.   All other names debtor used           ______________________________________________________________________________________________________
     in the last 8 years                   ______________________________________________________________________________________________________
                                           ______________________________________________________________________________________________________
     Include any assumed names,
                                           ______________________________________________________________________________________________________
     trade names, and doing business
     as names                              ______________________________________________________________________________________________________




3.   Debtor’s federal Employer              8 ___
                                           ___ 1 – ___
                                                    3 ___
                                                       8 ___
                                                          4 ___
                                                             0 ___
                                                                4 ___
                                                                   2 ___
                                                                      0
     Identification Number (EIN)



4.   Debtor’s address                      Principal place of business                                   Mailing address, if different from principal place
                                                                                                         of business
                                            814 Lavaca Street                                            _______________________________________________
                                           ______________________________________________
                                           Number     Street                                             Number     Street

                                           ______________________________________________                _______________________________________________
                                                                                                         P.O. Box

                                            Austin                           TX         78701
                                           ______________________________________________                _______________________________________________
                                           City                        State    ZIP Code                 City                      State      ZIP Code

                                                                                                         Location of principal assets, if different from
                                                                                                         principal place of business
                                                 TRAVIS COUNTY
                                           ______________________________________________
                                           County                                                         4811 S. Congress
                                                                                                         _______________________________________________
                                                                                                         Number     Street

                                                                                                         _______________________________________________

                                                                                                         Austin                      TX         78745
                                                                                                         _______________________________________________
                                                                                                         City                      State      ZIP Code




5.   Debtor’s website (URL)                ____________________________________________________________________________________________________


6.   Type of debtor                        
                                           x Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                            Partnership (excluding LLP)
                                            Other. Specify: __________________________________________________________________


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Debtor           WC 4811 South Congress, LLC
                _______________________________________________________                        Case number (if known)_____________________________________
                Name



                                         A. Check one:
7.    Describe debtor’s business
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                         x Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                         
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above

                                         B. Check all that apply:

                                          Tax-exempt entity (as described in 26 U.S.C. § 501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                            § 80a-3)
                                          Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                            http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                            5     3 1 1
                                            ___ ___ ___ ___

8.    Under which chapter of the         Check one:
      Bankruptcy Code is the
      debtor filing?                      Chapter 7
                                          Chapter 9
                                         x Chapter 11. Check all that apply:
                                         
                                                        Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                             insiders or affiliates) are less than $2,490,925 (amount subject to adjustment on
                                                             4/01/16 and every 3 years after that).
                                                            The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                             debtor is a small business debtor, attach the most recent balance sheet, statement
                                                             of operations, cash-flow statement, and federal income tax return or if all of these
                                                             documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

                                                            A plan is being filed with this petition.

                                                            Acceptances of the plan were solicited prepetition from one or more classes of
                                                             creditors, in accordance with 11 U.S.C. § 1126(b).

                                                            The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                             Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                             Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                             for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                            The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                             12b-2.
                                          Chapter 12
9.    Were prior bankruptcy cases        
                                         x No
      filed by or against the debtor
      within the last 8 years?            Yes.    District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

10.   Are any bankruptcy cases            No
      pending or being filed by a
      business partner or an             
                                         x Yes.            See attachment
                                                   Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                     District _____________________________________________ When               __________________
      List all cases. If more than 1,                                                                                        MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________


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                WC 4811 South Congress, LLC
Debtor        _______________________________________________________                       Case number (if known)_____________________________________
              Name




11.   Why is the case filed in this    Check all that apply:
      district?
                                       
                                       x Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                          immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                          district.

                                        A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

12.   Does the debtor own or have      
                                       x No
      possession of any real            Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                     Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                    What is the hazard? _____________________________________________________________________

                                                   It needs to be physically secured or protected from the weather.

                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                    attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                    assets or other options).

                                                   Other _______________________________________________________________________________



                                               Where is the property?_____________________________________________________________________
                                                                          Number          Street

                                                                          ____________________________________________________________________

                                                                          _______________________________________         _______     ________________
                                                                          City                                            State       ZIP Code


                                               Is the property insured?
                                                   No
                                                   Yes. Insurance agency ____________________________________________________________________

                                                         Contact name     ____________________________________________________________________

                                                         Phone            ________________________________




            Statistical and administrative information



13.   Debtor’s estimation of           Check one:
      available funds                  
                                       x Funds will be available for distribution to unsecured creditors.
                                        After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                       
                                       x 1-49                            1,000-5,000                              25,001-50,000
14.   Estimated number of               50-99                           5,001-10,000                             50,001-100,000
      creditors
                                        100-199                         10,001-25,000                            More than 100,000
                                        200-999

                                        $0-$50,000                      $1,000,001-$10 million                   $500,000,001-$1 billion
15.   Estimated assets                  $50,001-$100,000               
                                                                        x $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                        $100,001-$500,000               $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                        $500,001-$1 million             $100,000,001-$500 million                More than $50 billion



  Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 3
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Debtor          WC 4811 South Congress, LLC
               _______________________________________________________                         Case number (if known)_____________________________________
               Name



                                         $0-$50,000                        
                                                                            x $1,000,001-$10 million                   $500,000,001-$1 billion
16.   Estimated liabilities              $50,001-$100,000                   $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                         $100,001-$500,000                  $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                         $500,001-$1 million                $100,000,001-$500 million                More than $50 billion


             Request for Relief, Declaration, and Signatures


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17.   Declaration and signature of         The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
      authorized representative of
                                            petition.
      debtor
                                           I have been authorized to file this petition on behalf of the debtor.

                                           I have examined the information in this petition and have a reasonable belief that the information is true and
                                            correct.


                                        I declare under penalty of perjury that the foregoing is true and correct.

                                                        10/05/2020
                                            Executed on _________________
                                                        MM / DD / YYYY


                                           _____________________________________________                 Natin Paul
                                                                                                       _______________________________________________
                                            Signature of authorized representative of debtor           Printed name

                                                   President of Managing Member
                                            Title _________________________________________




18.   Signature of attorney
                                             /s/ Mark H. Ralston
                                            _____________________________________________              Date         10/05/2020
                                                                                                                    _________________
                                            Signature of attorney for debtor                                        MM   / DD / YYYY



                                             Mark H. Ralston
                                            _________________________________________________________________________________________________
                                            Printed name
                                            Fishman Jackson Ronquillo PLLC
                                            _________________________________________________________________________________________________
                                            Firm name
                                             13155 Noel Road, Suite 700
                                            _________________________________________________________________________________________________
                                            Number     Street
                                            Dallas
                                            ____________________________________________________              TX            75240
                                                                                                           ____________ ______________________________
                                            City                                                           State        ZIP Code

                                            (972) 419-5500
                                            ____________________________________                              mralston@fjrpllc.com
                                                                                                           __________________________________________
                                            Contact phone                                                  Email address



                                             16489460                                                         TX
                                            ______________________________________________________ ____________
                                            Bar number                                             State




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